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                         8                               UNITED STATES DISTRICT COURT
                         9                             CENTRAL DISTRICT OF CALIFORNIA
                        10
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                        11     WENDY HAUT                                       Case No.:
                        12                           Plaintiff,
                                                                                COMPLAINT FOR BENEFITS
                        13            vs.                                       UNDER A GROUP DISABILITY
                                                                                EMPLOYEE BENEFIT PLAN
                        14     RELIANCE STANDARD LIFE
                               INSURANCE COMPANY; and
                        15     CENGAGE LEARNING, INC. GROUP
                               LONG TERM DISABILITY PLAN,
                        16
                                                     Defendants.
                        17

                        18
                                     Plaintiff alleges as follows:
                        19
                                     1.       This Court's jurisdiction is invoked pursuant to 28 U.S.C. §§1331, 1337
                        20
                               and 29 U.S.C.§ 1132(a), (e), (f) and (g), of the Employee Retirement Income Security
                        21
                               Act of 1974, 29 U.S.C. §1001, et seq. (hereafter "ERISA") as it involves a claim by
                        22
                               Plaintiff for Disability benefits under an employee benefit plan regulated and
                        23
                               governed under ERISA. Jurisdiction is predicated under these code sections as well
                        24
                               as 28 U.S.C. §1331 as this action involves a federal question.
                        25
                                     2.       The events or omissions giving rise to Plaintiff's claim occurred in this
                        26
                               judicial district, thus venue is proper here pursuant to 28 U.S.C. § 1391(b)(2), and the
                        27
                               ends of justice so require.
                        28
                                     3.       The ERISA statute at 29 U.S.C. § 1133, in accordance with Regulations
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                         1           of the Secretary of Labor, provides a mechanism for internal appeal of benefit
                         2           denials. Those avenues of appeal have been exhausted.
                         3           4.      Plaintiff is informed and believes and thereon alleges that Defendant,
                         4     Cengage Learning, Inc. Group Long Term Disability Plan is an employee welfare
                         5     benefit plan established and maintained by Cengage Learning, Inc., a Delaware
                         6     corporation, to provide its employees with monthly disability income insurance
                         7     protection, and, is the Plan Administrator.
                         8           5.      Plaintiff alleges upon information and belief that Defendant, Reliance
                         9     Standard Life Insurance Company (hereafter “RELIANCE STANDARD”), is, and at
                        10     all relevant times was, a corporation duly organized and existing under and by virtue
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                        11     of the laws of the State of Illinois and authorized to transact and transacting the
                        12     business of insurance in this state.
                        13           6.      Plaintiff WENDY HAUT (hereafter “Plaintiff’) is a resident and citizen
                        14     of the State of California, an employee of Cengage Learning, Inc. and a participant in
                        15     the employee benefit plan.
                        16           7.      Defendant RELIANCE STANDARD issued Group Disability Income
                        17     Policy Number LTD 123610 to Cengage Learning, Inc. and the eligible participants
                        18     and beneficiaries of the Plan.
                        19           8.      Based upon information and belief, the Plan provides a disability benefit
                        20     based upon Plaintiff’s pre-disability monthly earnings following a one-hundred and
                        21     eighty-day Elimination Period.
                        22           9.      Based upon information and belief, per the Plan “Totally Disabled” and
                        23     “Total Disability” mean, that as a result of an Injury or Sickness:
                        24                • During the Elimination Period and for the first 24 months for which a
                        25                   Monthly Benefit is payable, an Insured cannot perform the material
                        26                   duties of his/her Regular Occupation;
                        27                • After a Monthly Benefit has been paid for 24 months, an Insured cannot
                        28                   perform the material duties of Any Occupation.

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                         1            10.      On or about September 19, 2020, Plaintiff became disabled as defined
                         2     by the plan.
                         3            11.      Based upon information and belief, Plaintiff timely filed a claim for
                         4     benefits under the subject plan.
                         5            12.      On or about December 6, 2020, Dr. Brendan Courneene expressed his
                         6     support for Plaintiff’s disability claim: “Based on minimal improvement since the
                         7     onset of symptoms, it is my clinical recommendation that Wendy abstain from
                         8     strenuous activity including work related activities until fatigue improves and
                         9     complete diagnosis of secondary illness is determined.”
                        10            13.      On or about December 16, 2020, Plaintiff’s treating neurologist, Dr.
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                        11     Marisa Chang prepared a letter regarding Plaintiff’s disability status:
                        12                  • Ms. Haut suffers from multiple post COVID multi-organ dysfunction
                        13                     including severe diarrhea, cognitive dysfunction, word finding
                        14                     difficulties, confusion, balance difficulties, incontinence, memory issues,
                        15                     brain fog, difficulty multi-tasking and difficulty with attention and
                        16                     concentration.
                        17                  • I do not believe Ms. Haut is able to work.
                        18                  • I believe it is medically necessary for her to be on short-term disability
                        19                     until at least 06/01/2021.
                        20            14.      On or about April 19, 2021, Dr. Maggie Ney prepared a letter in support
                        21     of Plaintiff’s disability:
                        22                  • I am encouraging my patient, Wendy Haut (DOB: 2.28.1973), to stop
                        23                     working and apply for long term disability as she recovers from the
                        24                     debilitating and lasting side effects from the Coronavirus Virus.
                        25                  • She has been struggling with profound fatigue and extreme cognitive
                        26                     difficulties that make it impossible for her to do her job.
                        27     15.    On or about May 10, 2021, Plaintiff’s neurologist, Marisa Chang, MD, also
                        28     wrote a letter of support of Plaintiff’s disability:

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                         1                 • I am the primary treating neurologist of Ms. Haut.
                         2                 • Ms. Haut [sp] suffers from severe post-COVID syndrome and is a post-
                         3                    COVID long hauler.
                         4                 • The patient suffers from multiple severe neurologic deficits including
                         5                    short-term memory loss, brain fog, difficulty multitasking, severe
                         6                    fatigue, attention and concentration difficulties.
                         7                 • She is unable to perform executive functioning such as making
                         8                    decisions, following through on tasks and is having difficulty
                         9                    modulating her emotions.
                        10                 • She cannot perform her activities of daily living including shopping for
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                        11                    groceries, paying bills or managing time.
                        12                 • Moreover, she suffers from chronic headaches, insomnia, and balance
                        13                    issues. She has autonomic instability with heart rate and blood pressure
                        14                    instability. In addition, the patient has diffuse weakness, difficulties
                        15                    with dexterity and incontinence.
                        16                 • I believe Ms. Haut is unable to work due to neurological complications
                        17                    of post-COVID syndrome and qualifies for long-term disability.
                        18           16.      On or about May 17, 2021, Defendant RELIANCE STANDARD denied
                        19     Plaintiff’s claim for Long Term Disability benefits.
                        20           17.      On or about June 7, 2021, neuropsychologist Martin Stern, Ph.D.
                        21     prepared a report regarding Plaintiff’s neuropsychological evaluation. The
                        22     conclusion was the testing was consistent with mild cognitive dysfunction.
                        23           18.      Based upon information and belief, Plaintiff filed a timely appeal of the
                        24     denial of her claim.
                        25           19.      On or about November 8, 2021, Dr. Eric Mizrahi prepared an Interim
                        26     Assessment Report regarding Plaintiff’s current status:
                        27                 • The following is to attest that I have served as Wendy Haut’s primary
                        28                    care physician since she contracted COVID-19 on 09/19/2020.

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                         1                 • She developed an aggressive course with devastating and rapid
                         2                     deterioration requiring near ICU level care at home.
                         3                 • She took nearly three months to recover and wean off oxygen and is still
                         4                     weaning steroids.
                         5                 • At this point in time, I am mostly concerned about her relentless asthma
                         6                     and chronic cough that did not exist prior to this illness and her physical
                         7                     and mental decompensation.
                         8                 • As a former top software sales executive, she had to resign from that
                         9                     position due to her inability to keep up with the job demands and
                        10                     attention to detail required in that industry.
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                        11                 • To date she experiences constant mental fog and forgetfulness,
                        12                     especially short term memory, and thought processing.
                        13                 • She is literally incapable of assuming her responsibilities of daily living
                        14                     without assistance.
                        15           20.       On or about November 4, 2021, Plaintiff consulted with Dr. Sara
                        16     Ghanderhari regarding Outpatient Pulmonary Rehabilitation. Plaintiff remained
                        17     symptomatic from her prior COVID-19 infection with cough and tachycardia.
                        18           21.       On or about December 14, 2021, Defendant RELIANCE STANDARD
                        19     denied Plaintiff’s appeal and advised that she had exhausted her administrative
                        20     remedies.
                        21           22.       As a direct and proximate result of the Defendant RELIASTAR’s failure
                        22     to provide Plaintiff with Long Term Disability benefits, she has been deprived of said
                        23     benefits from on or about March 22, 2021 to the present date.
                        24           23.       As a further direct and proximate result of the denial of benefits,
                        25     Plaintiff has been required to incur attorney fees to pursue this action and is entitled
                        26     to have such fees paid by Defendants pursuant to 29 U.S.C. § 1132(g) (1), ERISA §
                        27     502(g) (1).
                        28           24.       A controversy now exists between the parties as to whether Plaintiff is

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                         1     disabled as defined in the Plan. Plaintiff seeks the declaration of this Court that she
                         2     meets the Plan definition of disability and thus she is entitled to ongoing disability
                         3     benefits under the Plan.
                         4     WHEREFORE, Plaintiff prays for relief against Defendants as follows:
                         5           1.        An award of disability benefits from March 22, 2021 to present;
                         6           2.        An order determining that Plaintiff is entitled to ongoing disability
                         7     benefits; and
                         8           3.        For reasonable attorney fees incurred in this action; and,
                         9           4.        For such other and further relief as the Court deems just and proper.
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                        11     DATED: January 10, 2022                          DONAHUE & HORROW, LLP
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                                                                                ________________________
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                                                                                MICHAEL B. HORROW
                        14                                                      SCOTT E. CALVERT
                        15
                                                                                Attorneys for Plaintiff

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